Ffase 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 1 of 11

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CV12-01522
RDIL ENERG

Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 2 of 11

 

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§§ 1
6 IN THE SECOND JUD|CIAL DlSTRICT COURT OF THE STATE OF NEVADA
? lN AND FOR THE COUNTY OF WASHOE
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9 ROIL ENERGV, LLC., a Nevada Limited
Liability Company, by and through the

10 Derlvative ctaim of ALLAN HOLMS, a Ca$e NO. CV12-01522
Married man and a Washington resident; and
11 ALLAN HOLMS, individualfy, a married Dept. NO. 10
Man and a Washington Resident,
12
Plaint'rFfS
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JOSEPH (“JAY”) EDINGTON and JANE
14 DOE EDINGTON, husband and wife and
Residents of Spokane County, Washington;

15 TOLL RESERVE CONSORT|UM |NC.,
ET AL

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17 OUT OF STATE COMMISS|ON

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Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 3 of 11

IN THE SUPERIOR COURT OF THE STATE OF WASHI'NGTON
IN AN'D FOR SPOKANE COUNTY

ROIL ENERGY, LLC., a Neva.da limited
liability Cornpany, by and through the derivative
claim of ALLAN HOLMS, a married man and a
Washington resident; and ALLAN HOLMS,
individually, a married man and a Washington
Resident,

Plaintiff.'s.
vs.

JOSEPH ("JAY") EDINGTON and JANE
DOE EDINGTON, husband and wife and
residents of Spokane Cuunty, Washington;
TOLL RESERVE CONSORTIUM INC., a
Nevada Corporation recently renamed as HOLMS
ENERGY DEVELOPMENT CORPORATION,
a Nevada Corporation; VAL AND MARI
HOLMS, husband and wife, and the marital
community comprised thereof, residents of the
State ofMontana; HOLMS ENERGY, LLC, a
Nevada Limited Liability Company, and
BAKKEN RESOURCES, lNC., a Nevada
Comoration,

Defendants.

TO: EWIRE STOCK TR.ANSFER COMPANY

24?0 St. Rose Parkway, Suite 304
Henderson, Nevada 39074

SUBPOENA IN A CfVIL CASE - Page l of'S

 

Case No. 12-2~01039-5

SUBPOENA IN A CIVIL CASE

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SPOKAN‘E.WAEHINGFON 9920\
F.ACS|H!L.E’. EBOBF 5336341
(509) BE|B-BS-M

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is YoU no NoT EXERCISE THE ALTERNATIVE EXPLAINED AT PA os s oF THIS
sUsPosNA THEN,

PI< YOU ARE COMMANDED to produce and permit inspection and copying of the
following documents or tangible things at the pisee, date, and time specified beiow.

 

 

 

‘PLACE: DATE AND TIME:
'i Robison, Beiaustegui, Sharp & Low June 25, 2012 at 2:00 p.m.
71 Washington Stt'eet
'Reno, Nevsda 89503

 

 

IF YOU DO NOT EXERCISE THE ALTERNA'I`IVE EXPLAINED AT PAGE 6 OF THIS
SUBPOENA THEN,

m YOU ARE COMMANDED to appear at the place, date, and time specified below to
testify at the taking of a deposition in the above case, before a Notary Public/Court Reporler or
other official authorized by law to administer oaths.

Any organization not a party to this suit that is subpoenaed for the taking ofa deposition
shall designate one or more officers, directors, or managing agents, or other persons who consent
to testify on its behalf, and may set forth, for each person designated the matters on which the
person will testify. CR 30(b)(6).

 

 

 

 

 

 

PLACE OF DEPOSITIONE DATE AND TIME:
Robison, Belaustegui, Sharp & Low June 25, 2012 at 2:00 p.m.
71 Washington Street
Reno, Neveda 89503
ISSUING OFFICER SIGNATURE AND TITLE: DATE‘.
_ z 1
/ . .
\w(/ /Z/t_? f /!//z// , Attorney for Plemttff. June 6, 2012
v ISSUING OFFICER’S NAME'., AD$RESS, AND PHONE NUMBER; A'I"I`ORNEY FOR'.

D. Roger Reed Plaintiff
Robin Lynn Haynes WSBA #662
Reed & Giesa, P.S. WSBA #38116
222 North Wall Street, Suite 410
Spoka.ne, WA 9920}
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A't't'ORNEY$ AT LAW

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SPOKANE,WASHENSTON 9920|

FACS|M|LE: 509) 355-5541
{`509} 8338341

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PLACE OF SERVICE:

PRo`oF 0F sERVtCE
NAME OF PERSON SERVED: MANNER OF SERVICE:
DATE OF SERVICE:

 

 

_ TITLE OF`PERSON SERVED: ns sssvtcs ts UPoN sosthss ott oRGAerATtoNJ

 

SERVED BY: (PRINT NAME)

 

 

TI'I`LE OF PERS ON SERVING‘,

 

 

 

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the State of Washington that the
foregoing information contained in the Proof of Service is true and correct

 

 

 

 

 

 

sxcu'rsn oN THE mrs oF; PLACE.-
stoNATURs oF s”l§R\/ER:
PRrNrsr) NAME AND ADDREss 0F sssvsn: PHONE:

 

 

SUBPOENA l'N A CIVIL CASE - Pag¢ 3 01’8

 

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Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 6 of 11

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Putsuant to CR 45, a recitation of Sections (c) and (d)
follows:
(c) Protection of persons Subjcct to Subpoenas.

(l) A party or an anomey responsible for the
issuance and service of a subpoena shall take
reasonable steps to avoid imposing undue burden or
expense on a person subject to that subpoena The
court shall enforce this duty and impose upon the
party or attorney in breach of this duty an appropriate
sanction, which may include, but is not limited to,
lost earnings and a reasonable attorney‘s fee.

(2){A) A person commanded to produce and
permit inspection and copying of designated books,
papers, documents or tangible things, or inspection of
promises need not appear in person at the place of
production or inspection unless commanded to
appear for deposition, hearing or trial.

(B) Subjcct to subsection (d){Z) of this rulc, a
person commanded to produce and permit inspection
and copying may, within 14 days alter service of the
subpoena or before the time specified for compliance
if such time is less than 14 days after service, serve
upon the party or attorney designated in the subpoena
written objection to inspection or copying of any or
all cf the designated materials or of the premises lt`
objection is made, the party serving the subpoena
shall not be entitled to inspect and copy the materials
or inspect the premises except pursuant to an order ol`
the court by which the subpoena,was issued. if
objection has been madc, the party serving the
subpoena may, upon notice to the person commanded
to produce and all other parties, move at any time for
on order to compel the production Such and order to
compel production shall protect any person who is
noia party or an officer of a party from significant
expense resulting from the inspection and copying
commandedl

(3)(A) On timely motion, the court by which a
subpoena was issued shall quasb'or modify the
subpoena if it.'

(i) fails to allow reasonable time for
compliance;

(ii) fails to comply with RCW 5.56.010 or
subsection (e){2) of this rule;

(iii) requires disclosure of privileged or
other protected matter and no exception or waiver
applies; or

(iv) subjects s person to undue burden,
provided that the court may condition denial of the
motion upon a requirement that the subpoenaing

SUBPGENA IN A CIVIL CASE - Ftige4 of 8

party advance the reasonable cost of producing the
books, papers, documents, or tangible things

(B} lf a subpoena

(i) requires disclosure of a trade secret or
other confidential research, development or
commercial information cr

(ii) requires disclosure of an unrctaincd
expert‘s opinion or information not describing
specific events or occurrences in dispute and
resulting E'om the expert’s study made not st the
request ol‘ any party, the court may. to protects
person subject to or affected by the subpoena, quash
or modify the subpoena or, if the party in whose
behalf the subpoena is issued shows a substantial
need for the testimony or material that cannot bc
otherwise met without undue hardship and assures
that the person to whom the subpoena is addressed
will be reasonably compensated, the court may order
appearance or production only upon specified
conditions

(d) Duties in Rcsponding to Sobpocna

(1) A person respond ing to a subpoena to
produce documents shall produce them as they are
kept in the usual course ol" business or shall organize
and label them to correspond with thc categories in
the demand

(2)[A) thn information subject to a Subpoenu
is withheld on a claim that it is privileged or subject
to protection as trial preparation materialsl the claim
shall be made expressly end shall be supported by a
description of the nature ol' thc documents,
communicationsl or things not produced that is
sufficient to enable thc demanding party to contest
the clsim.

(B) if information produced in response to a
subpoena is subject to a claim of privilege or of
protection as trial-preparation matcrisl, the person
making the claim may notify any party that received
the information of the claim and the basis for it. Aftcr
being notified a party must promptly return,
sequester, or destroy the specified interruption and
any copies it has; must not usc or disclose the
information until the claim is resolved; must take
reasonable stops to retrieve the information if thc
party disclosed it before being notified; and may
promptly present the information in camera to the
court for a determination cf the ciaim. Thc person
responding to the subpoena must preserve the
information until the claim is resolved

RE£D Bc GJESA, P,S.
A'l‘l`DRN EYS A'l' LAW
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EFGKANE. WABH.!NGTON 99201
FACS|MlL.E: (509) 538834 1
(509) 835-8341

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EXHIBIT ' ' A“

THE RECORDS CUSTODIAN OF EMPIRE STOCK TRANSFE‘R COMPANY INC.
IS ALSO COMMANDED TO PRODUCE at the law offices of Robison, Belaustegui, Sharp
& Low, 71 Washington St., Reno, NV 89503, by .l’unc 25, 2012 at 2:00 p.m. the following
documents:

All “documents,” as defined in Exhibit “1,” relating to or concerning Bakken
Resources, Inc., a chada Corporation, ffkia Multisys Language Solutions, Ino., for the
period November 1, 2008 through the present, including but not limited to:

1. Transaction reports of issuances and cancellations ot` stock since Novernber i,
2008 through the prcsent;
2. Shareholdcrs list of shareholders with names and addresses, dates, certificate

numbers, restrictions, amount of shares and total shares held since Novembcr l, 2008 through
the present;

3. Control and/or Restricted sheets showing original issuances and changes to
outstanding shares with corporate actions (reverse splits) or cancellations back to treasury, since
November l, 2008 through the prcsent;

4. Con'espondence received or transmitted whether written, digitai, or electronic
since Novcmber l, 2008 through the present for: Joseph Edington, Ja.nelle L. Edirtgton, Sherry
Edington, Jerod Edington, Val M, Holrns, Mari P. Holrns, Christopher Wetzcl, Raymond Kuh,
Manny XXXXIXX, Manny Grniwer, Wesley .l. Paul, Roil E,nergy, LLC, a chada Lirnited
Liabiiity Company, Holms Energy, LLC, Toll Reserve Consortium, lnc., a Nevada Corporation,
Southwest Consulting Services, Inc. and!or the U.S. Securities and Exchange Commission

relating to any of the above or the Financial Regulatory Authority relating to any of the above;

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5. Sharehoider account ledgers for Joseph Edingtcn, lanelle L. Edington, Sherry
Edington, Jerrod Edington, Vai M. I-lolrns, Meri P. Hoims, Christopher Wetzel, Raymond Kuh,
Manny XXXXXX, Manny Graiwet, Wesley J. Paul, Roil Energy, LLC, a Nevada Limiteci
liability Company , Holms Energy, LLC, Toll Reserve Consortium, Inc., a Nevecia Corporation,
Scuthwest Consulting Services, Inc. since November l, 2008 through the present;

6. All stocklshare registers and/or any other transactional documents relating to the
issuance, transfer, purchase and/or sale of any and all stock/Share certificates for Bal<kcn
Rcsources, Inc., a chada Corporation, f/le/e Muit'isys Language Solutions, Inc., for the period
Novernber 1, 2008 through the present.; and,

7. Contracts and agreements, together with related correspondence, between Empire
Transfer, Inc. and Bald<en Resources, Inc., a Nevada Corporation, and/or Multisys Language
Solutions, Inc., together with ali accounting records, journal entries, balance sheets, documenting
the monies owed to the Empire Stock Transfer for services rendered to either or both Balcken
Resources, Inc., a Nevada Corporation, and/or Muitisys Language Soiutions, Inc.

The production of the aforementioned documents should be in electronic form.

Alternatively, it is not necessary for you to appear for the deposition as scheduled,
provided that you tender complete and legible copies of the above-requested documents, along
With an executed copy of the Declaretion of Authenticity (Exhi`oit "B"), to the offices of R.ecd &.
Gicsa, P.S., 222 North Wall Street, Suite 410, Spokane, Washington 99201, by no later than

June ZS, 2012, at 2:0[} p.m.

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Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 9 of 11

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E)CHIBIT "B"
DECLARATION OF AU'I`HENTIClTY

I, _ , declare:

That I am the records custodian for Empire Stock Transfer Company Inc., and the
documents produced herewith are true and correct copies thereof

This Declaration is given in connection with a case of proceedings entitled Roil Energy.
LLC, et. al., vs Joseph Edtngton, et. al., Spokane County Superior Court Cause No, 12-2-01039-
5.

I hereby certify under penalty of perjury under the laws of the Statc of Washington that
thc foregoing is true and correct to the best of my information and knowledge

Executed on this day of 2012, et ,__.,__________M____. [Cit)’]=

 

 

 

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[state],
Empire Stock Transfer C'ompany Inc.
By:
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"Docurnent(s)“ as used herein, Without limitation and in the broadest sense possible, refers to
the original and any identical or non~identical copy of any originai, of any physical source of
information regardless of its manner of representation consisting of all "writings“ and "photographs"
as defined in EVideuce Rule 1001, and which includes any manner whatsoever of recorded or
electronically stored or generated matcrial, data, information images, or sounds, and/OI` any Ol`n¢l`
form of infonnation, including, but not limited to: computer diskettes (hard or floppy), CD»ROM
disks, Bernoulli disks and their equivalents, magnetic tapes of all kinds, and computer chips (including
but not limited to EPROM, PROM, RAM, and ROM), data and information stored on computer hard
drives, computer printouts, facshniies (or faxes) (whether in hard copy or electronic fortn), teletypes,
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other electronic equipment microi`ilms, transcripts, photographs slides, tilrns, movics, video
T¢COI‘dngS, tape recordings, and graphics or audio or visual or audio visual records of any l<ind, books,
magazines pamphlets, brochures, bulletins, publications printed matter, letters, notes, notations ol`
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catalogs, ordeis, invoices, statements, receipts, checks, warranties, guaranties summarics, work
sheets, meeting and other minutcs, notices, prospectuses, agendas, and all notations on the foregoing
and all copies thereof

"Document(s]" also means, without limitation, the file and folder tabs associated with
each original andfor copy, and ali correspondence or equivalent transmitting such document
and/or explaining and/or commenting on the contents thereof, and all attachments, enclosurcs,
and Working papers

SUBPOENA IN A CIVlL CASE - Pag.-, g apa RF.Eo er Gles.e. P.S.
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Case 3:17-cv-00167-I\/||\/|D-VPC Document 23-13 Filed 03/31/17 Page 11 of 11

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SECOND JUD|C|AL DlSTFilCT COURT
COUNTY OF WASHOE, STATE OF NEVADA

AFFlRMAT|ON
Pursuant to NHS 2395.030

The undersigned does hereby affirm that the preceding documentl
Subpoena Duces Tecum

 

 

(Title of Document)

filed in case numb_er:

 

 

v/ Document does not contain the social security number of any person
.Q|:;.

Document contains the social security number of a person as required by:

 

 

 

 

 

|[:1 A specific state or federal |aw, to wit:

 

(State specific state or federal law)
-or_
n:] For the administration of a public program
_°r_
m For an application for a federal or state grant
.°r-

l:i Conficlentla| Family Court information Sheet
(NF{S 125.130, NFiS 125.230 and NRS 1255.055)

Dat@; June 7, 2012.

 

 

  

lLMORE. ESQ.

 

(F’rint Name)
PLA[NTIFF

 

(Attorn cy for)

Affirmation
Flevised Dccember15. 2006

 

